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 6                        UNITED STATES DISTRICT COURT
 7                       CENTRAL DISTRICT OF CALIFORNIA
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      FLEISCHER STUDIOS, INC.,             Case No.: 2:2006-cv-06229 ABC (MANx)
10
11                        Plaintiff
            vs.
12                                         [PROPOSED] JUDGMENT
13    A.V.E.L.A., INC. d/b/a ART &
      VINTAGE ENTERTAINMENT
14    LICENSING AGENCY, ART-
15    NOSTALGIA.COM, INC., and X
      ONE X MOVIE ARCHIVE, INC.,
16    and LEO VALENCIA,
17
                          Defendants.
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20         The Court, having entered its November 14, 2012 Order denying the Motion
21   for Summary Judgment filed by Plaintiff Fleischer Studios, Inc. (FSI) and granting
22   the Motion for Summary Judgment filed by Defendants A.V.E.L.A., Inc., Art-
23   Nostalgia.com, Inc., X One X Movie Archive, Inc. and Leo Valencia (Defendants)
24   with respect to FSI’s trademark infringement claim, and for good cause appearing
25   therefor, now enters judgment in favor of the Defendants and against FSI as
26   follows:
27                                                                                           1
                                                                       [Proposed] Judgment
28                                                           2:2006-cv-06229 ABC (MANx)
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 1         JUDGMENT is hereby granted in favor of Defendants A.V.E.L.A., Inc., Art-
 2   Nostalgia.com, Inc., X One X Movie Archive, Inc., and Leo Valencia and against
 3   Plaintiff Fleischer Studios, Inc. Plaintiff Fleischer Studios, Inc. shall take nothing,
 4   the action is dismissed on the merits, and Defendants A.V.E.L.A., Inc., Art-
 5   Nostalgia.com, Inc., X One X Movie Archive, Inc. and Leo Valencia shall recover
 6   their costs of the action in the sum of $____________.
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10           11/20/2012
     DATED: ______________                  __________________________________
                                            ________________________________
11                                          AUDREY B. COLLINS, JUDGE
12                                          UNITED STATES DISTRICT COURT
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27                                                                                              2
                                                                          [Proposed] Judgment
28                                                              2:2006-cv-06229 ABC (MANx)
